Case 2:18-cv-09303-JMV-MF Document 42 Filed 08/01/19 Page 1 of 1 PageID: 332




               IN THE UNITED STATES DISTRICT COURT
                      DISTRICT OF NEW JERSEY


SARAH A. BULUT,

             Plaintiff,
v.                                         Case No. 2:18-cv-09303-JMV-IvW

JP MORGAN CHASE BANK, N.A.,
VISA, INC., and VISA USA, INC.,

             Defendants.


               ORDER GRANTING CONSENT MOTION FOR
               EXTENSION OF TIME TO FILE MOTION TO
                   DISMISS AMENDED COMPLAINT

      THIS MATTER having come before the Court on the motion (CMJECF

No. 39) of Defendants for an Order extending Defendants’ time to file their

motion to dismiss the amended complaint; and Plaintiff having consented to the

extension; and for good cause shown,

      IT IS on this Pt day of August, 2019, ORDERED that the motion for an

extension of time is GRANTED. Defendants shall answer or file a motion to

dismiss the amended complaint by September 13, 2019. Defendants’ application

for an extension appearing at entry no. 41 is denied as moot.




                                       kFalkJ.
